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                  EXHIBIT C
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FI, LLC

                    UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
BEST BUY CO., INC.; BEST BUY PURCHASING
LLC; BEST BUY ENTERPRISE SERVICES, INC.;       Case No.
BEST BUY STORES, L.P.; BESTBUY.COM , L.L.C.;
and MAGNOLIA HI-Fl, LLC,
                          Plaintiffs,
V.                                             COMPLAINT [REDACTED]

TECHNICOLOR SA (f/k/a THOMSON SA),
TECHNICOLOR USA, INC. (f/k/a THOMSON
CONSUMER ELECTRONICS, INC.), VIDEOCON          JURY TRIAL DEMANDED
INDUSTRIES, LTD., TECHNOLOGIES DISPLAYS
AMERICAS LLC (f/k/a THOMSON DISPLAYS
AMERICAS LLC), MITSUBISHI ELECTRIC
CORPORATION; MITSUBISHI ELECTRIC VISUAL
SOLUTIONS AMERICA, INC.; and MITSUBISHI
ELECTRIC & ELECTRONICS USA, INC.,

                          Defendants.


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         Plaintiffs, Best Buy Co., Inc.; Best Buy Purchasing LLC; Best Buy Enterprise Services,

Inc.; Best Buy Stores, L.P.; BestBuy.com , L.L.C.; and Magnolia Hi-Fi, LLC (collectively

"Plaintiffs" or "Best Buy"), for their Complaint against all Defendants named herein, hereby

allege as follows:

I.       INTRODUCTION

               I.       Best Buy brings this action to recover damages caused by a long-running

conspiracy extending from at least March 1, 1995, through at least November 25, 2007 (the

"Relevant Period"), conducted by an international cartel formed by Defendants and their co-

conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and maintain
prices for cathode ray tubes ("CRTs").
               2.       Defendants and their co-conspirators are or were among the leading

manufacturers of: (a) color picture tubes ("CPTs"), which are CRTs used primarily in color

televisions; (b) color display tubes ("CDTs"), which are CRTs used primarily in color computer

monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as

computer monitors). For the purposes of this Complaint, CPTs of all sizes and the products
containing them shall be referred to collectively as "CPT Products." Also for the purposes of

this Complaint, CDTs of all sizes and the products containing them shall be referred to as "CDT
Products." CDT Products and CPT Products shall be referred to collectively herein as "CRT

Products."

               3.       During the Relevant Period, Defendants and their co-conspirators

controlled the majority of the CRT industry, a multibillion dollar market, which in 1999 alone

generated over $19 billion dollars in gross revenue. During the Relevant Period, virtually every

household in the United States owned at least one CRT Product.
               4.       Since the mid-1990s, the CRT industry faced significant economic

pressures as customer preferences for other emerging technologies shrank profits and threatened

the sustainability of the industry. In order to maintain price stability, increase profitability, and

decrease the erosion of pricing in the CRT market, Defendants and their co-conspirators

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conspired, combined and contracted to fix, raise, maintain and stabilize the price at which CRTs

were sold in the United States.

              5.       With respect to CRTs, Defendants, their co-conspirators and/or their agents

agreed, inter alia, to: (a) fix target prices and price guidelines; (b) exchange pertinent information

on, inter alia, shipments, prices, production and customer demand; (c) coordinate public
statements regarding available capacity and supply; (d) resolve issues created by asymmetrical

vertical integration among some of the co-conspirators; (e) keep their collusive meetings secret;

(0 expose cheating on the agreements and to discuss the reconciliation of accounts; (g) allocate

market share of overall sales; (g) influence and, at times, coordinate pricing with producers in
other geographic areas; (h) limit competition for certain key customers; (i) allocate customers; (j)

allocate each producer's share of certain key customers' sales; and (k) restrict output.

              6.       The conspiracy concerning CRTs commenced with bilateral meetings that

began in at least March of 1995 and continued throughout the Relevant Period. Also beginning in
1995, the co-conspirators began to engage in informal group meetings. By 1997, these group

meetings had become more formalized, as described in greater detail below. There were at least

500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and

hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,

South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K., Europe, and the United

States. These meetings included representatives from the highest levels of the respective

companies, as well as regional managers and others.

              7.       During the Relevant Period, the conspiracy affected billions of dollars of

commerce throughout the United States.

              8.       This conspiracy is being investigated by the United States Department of

Justice ("DOJ") and by multiple foreign competition authorities, including the European
Commission, the Korean Fair Trade Commission, and the Japan Fair Trade Commission.

Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.) was subpoenaed by the DOJ
in connection with its investigation of CRT price-fixing. Technicolor SA is the subject of an

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investigation by the Mexican Federal Competition Commission, and its affiliate in Brazil is under

investigation by the Brazilian Ministry of Justice for fixing the prices of CRTs. The first

participant to be indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-

conspirator Chunghwa Picture Tubes, Ltd., who had a two-count indictment issued against him by

a federal grand jury in San Francisco on February 10, 2009. Since then, five more individuals
have been indicted in connection with Defendants' CRT price-fixing conspiracy.
              9.       In March 2011, co-conspirator Samsung SDI Company, Ltd. ("Samsung
SDI") pleaded guilty to fixing the prices of CDTs during at least the nine-year period from
January 1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32

million. The conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors
and co-conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target

market shares for the CDT market overall and for certain customers.
              10.      During the Relevant Period, Best Buy purchased CRT Products in the

United States and elsewhere directly and indirectly from Defendants and their co-conspirators,

and/or Defendants' and their co-conspirators' subsidiaries and affiliates and/or any agents

Defendants or Defendants' subsidiaries and affiliates controlled. Best Buy thus suffered damages

as a result of Defendants' and their co-conspirators' conspiracy, and brings this action to recover
the overcharges paid for the CRT Products containing price-fixed CRTs it purchased during the
Relevant Period.

              11.      This case is related to and concerns the same anti-competitive conspiracy
and many of the same transactions and events that are presently pending in Best Buy Co., Inc., et.
al. v. Hitachi, Ltd. etaL, Individual Case No. 3:11-cv-05513-SC (Master File No. 3:07-cv-05944-

SC, MDL No. 1917) ("Best Buy v. Hitachi"), before the Honorable Samuel Conti in this court.

Both this case and Best Buy v. Hitachi are suits for damages arising out of the conspiracy to fix

the prices of and restrain competition for CRTs in violation of the federal and state antitrust laws.
II.      JURISDICTION AND VENUE

                12.    Best Buy brings this action to recover damages, including treble damages

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under Section 4 of the Clayton Act, costs of suit and reasonable attorneys' fees arising from

Defendants' violations of Section 1 of the Sherman Act (15 U.S.C. § 1).
                13.     Plaintiffs also bring this action pursuant to the Minnesota Antitrust Act
because Best Buy purchased in Minnesota CRT Products containing price-fixed CRTs from

Defendants (and their co-conspirators) and non-defendant vendors.

                14.     The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of

the Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337. The Court has

supplemental jurisdiction over Plaintiffs' state law claims listed herein under 28 U.S.C. § 1367

because they arise from the same nucleus of operative facts alleged in this Complaint. Plaintiffs'

state law claims are so related to their claims under Section 1 of the Sherman Act that they form
part of the same case or controversy.
                15.     The activities of Defendants and their co-conspirators, as described herein,
involved U.S. import trade or commerce and/or were within the flow of, were intended to, and did

have a direct, substantial and reasonably foreseeable effect on Unites States domestic and import
trade or commerce. This effect gives rise to Plaintiffs' antitrust claims. During the Relevant

Period, Defendants' conspiracy affected the price of CRT Products purchased in the United
States.
                16.     This Court has jurisdiction over each Defendant named in this action under

Section 12 of the Clayton Act (15 U.S.C. § 22). Defendants and their co-conspirators purposely

availed themselves of the laws of the United States as they manufactured CRT Products for sale

in the United States, or CRTs which were incorporated into CRT Products Defendants and their

co-conspirators knew would be sold to customers in the United States. Defendants' and their co-

conspirators' conspiracy affected this commerce in CRT Products in the United States.
                17.     Venue is proper in the Northern District of California under Section 12 of
the Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391 because each Defendant is either an alien
corporation, transacts business in this District, or is otherwise found within this District. In

addition, venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of the

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events or omissions giving rise to this claim occurred in this District. Defendants and their co-

conspirators knew that CRT Products containing price-fixed CRTs would be sold and shipped

into this District.

III.         PARTIES

          A.      Plaintiffs
                 18.     Plaintiff Best Buy Co., Inc. is a Minnesota corporation with its

headquarters and principal place of business in Richfield, Minnesota. Prior to 2004, Best Buy

Co., Inc. operated retail stores throughout the United States and sold CRT Products in those
stores.

                 19.     Plaintiff Best Buy Purchasing LLC is a Minnesota Limited Liability

Company and Plaintiff Best Buy Enterprise Services, Inc. is a Minnesota corporation with their
headquarters and principal places of business in Richfield, Minnesota.
                 20.     Plaintiff Best Buy Stores, L.P. is a Virginia Limited Partnership with its

headquarters and principal place of business in Richfield, Minnesota. Best Buy Stores, L.P.

operates retail stores throughout the United States and sells CRT Products in those stores.
                 21.     Plaintiff BestBuy.com , L.L.C. is a Virginia Limited Liability Company

with its headquarters and principal place of business in Richfield, Minnesota. BestBuy.com ,

L.L.C. is a wholly-owned subsidiary of Best Buy Stores, L.P. and operates Best Buy's retail
online store.

                 22.     During the Relevant Period, Best Buy Purchasing LLC, Best Buy

Enterprise Services, Inc. and/or Best Buy Co., Inc. negotiated for the purchase of, purchased, and

paid for CRT Products for Plaintiff Best Buys Stores, L.P. and BestBuy.com , L.L.C. These

negotiations, purchasing and payments took place out of Best Buy's principal place of business
and headquarters in Richfield, Minnesota.

                23.      Plaintiff Magnolia Hi-Fi, LLC ("MHF") is a wholly-owned subsidiary of
Best Buy Co., Inc. with its headquarters in Olympia, Washington, and has done business as

Magnolia Home Theater and Magnolia Audio Video. MHF is a specialty consumer electronic

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retailer that operates several Magnolia Audio Video standalone stores along the west coast and

the greater Chicago area, and several Magnolia Home Theater stores located within Best Buy

stores. During the Relevant Time Period, MHF's purchasing of CRT Products took place in its
headquarters in Kent Washington.

                  24.    During the Relevant Period, Best Buy purchased CRT Products directly

and indirectly from the Defendants, and/or the Defendants' subsidiaries and affiliates and/or any

agents the Defendants or Defendants' subsidiaries and affiliates controlled. As such, Best Buy

suffered injury as a result of Defendants' and their co-conspirators' unlawful conduct.
                  25.    Those products were kept as inventory and sold in Minnesota and every
other state where Best Buy retail stores were located, and over the internet throughout the United
States.

                  26.    As a result of the Best Buy Plaintiffs' presence, purchases, and sales in

Minnesota, and the substantial business they conduct in and with entities in Minnesota, Plaintiffs
are entitled to the protection of the Sherman Act and the antitrust laws of Minnesota.
             B.    Defendants

                   1.    Thomson Entities
                   27.   Defendant Thomson SA (now known as Technicolor SA) ("Thomson SA")
is a French Corporation with its principal place of business located at 1-5 Rue Jeanne d'Arc

92130 Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly owned

subsidiary Thomson Consumer Electronics, Inc., and other subsidiaries, was a major

manufacturer of CRTs for the United States market, with plants located in the United States,

Mexico, China and Europe. Thomson SA sold its CRTs internally to its television-manufacturing
division, which had plants in the United States and Mexico, and to other television manufacturers
in the United States and elsewhere. For much of the Relevant Period, the television

manufacturing division of Thomson SA manufactured and sold in the United States CRT

televisions under the RCA and GE brands. In July 2005, Thomson SA sold its CRT business to

defendant and co-conspirator Videocon Industries, Ltd. for €240 million. Simultaneously,

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Thomson SA invested a total of €240 million in Videocon, comprising a €225 million investment

in Videocon Industries, Ltd. and a €15 million investment in Videocon International, and acquired

13.1% of Videocon Industries, Ltd. The agreement with Videocon provided that Thomson

management would help Videocon run the CRT business during the transition period and beyond.

Videocon and Thomson also agreed to set up Preferred Supplier Agreements for Thomson's

display components business. Thomson SA also received at least one seat on Videocon's board
of directors when it invested in Videocon Industries, Ltd. Thomson SA maintained at least a 10%

ownership interest in Videocon Industries, Ltd. for the remainder of the Relevant Period. In

January 2010, Thomson SA changed its name to Technicolor SA. During the Relevant Period,
Thomson SA manufactured, marketed, sold and/or distributed CRT Products, either directly or

through its subsidiaries or affiliates, to customers throughout the United States.
               28.     Defendant Thomson Consumer Electronics, Inc. (now known as

Technicolor USA, Inc.) ("Thomson Consumer") is a United States corporation with its principal

place of business located at 10330 N Meridian St., Indianapolis, Indiana 46290-1024. Thomson

Consumer is a wholly owned subsidiary of Thomson SA and was Thomson SA's primary

subsidiary for the manufacture and sales of CRTs in the United States during the Relevant Period.

Thomson Consumer was a major manufacturer of CRTs for the United States market, with plants
located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico. Thomson Consumer
sold its CRTs to television manufacturers in the United States, Mexico and elsewhere. Thomson

Consumer's CRT business was sold by its parent Thomson SA to Videocon Industries, Ltd. in

2005. Simultaneously, Thomson Consumer's parent company Thomson SA invested €240

million into Videocon Industries, Ltd. and obtained 13.1% ownership of Videocon Industries, Ltd.

Thomson SA also received at least one seat on Videocon's board of directors when it invested in

Videocon Industries, Ltd. The agreement with Videocon provided that Thomson management
would help Videocon run the CRT business during the transition period and beyond. Videocon

and Thomson also to set up Preferred Supplier Agreements for Thomson's displays components

businesses. Thomson SA maintained at least a 10% ownership interest in Videocon Industries,

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Ltd. throughout the Relevant Period. Thomson Consumer was a parent corporation of its wholly

owned subsidiary, Thomson Displays Americas LLC. In January 2010, Thomson Consumer

Electronics, Inc. changed its name to Technicolor USA, Inc. During the Relevant Period,

Thomson Consumer manufactured, marketed, sold and/or distributed CRT Products either

directly or through its subsidiaries or affiliates throughout the United States.

                29.     Defendant Thomson SA had sufficient minimum contacts with the United

States during the Relevant Period for it to be subject to personal jurisdiction in the United States.

Thomson SA purposefully availed itself of the United States market for CRTs and CRT Products.

Thomson SA fixed prices and constrained competition on CRTs it and its wholly owned
subsidiary in the United States, Thomson Consumer, sold in the United States. Thomson SA had

significant contacts with the United States, and it dominated and/or controlled the finances,

policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the antitrust
violations alleged in this Complaint. During the Relevant Period, Thomson SA was a large

multinational industrial and technology company. Thomson SA was neither a mere holding
company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were more

than simple investment mechanisms for diversifying risk. Thomson SA had a controlling role in

the operation of its subsidiaries and exercised a central management function over its subsidiaries,

including Thomson Consumer, which served the function of servicing the pivotal U.S. CRT

market. During the Relevant Period, between 40-50% of Thomson SA's revenues were derived

from the United States, and Thomson SA's CEO described the United States as Thomson SA's

most important market. Thomson SA managed its business centrally, including that of U.S.
subsidiary Thomson Consumer, and its management and board of directors set its policies and

direction. Thomson SA employees oversaw the United States profits and losses associated with

Thomson Consumer's high-end and value TV businesses. Thomson SA also was involved in
planning and purchasing discussions with U.S. CRT customers, Thomson SA had to approve the

purchases made by U.S. customers, and Thomson SA was involved in CRT production and

pricing discussions relating to CRTs manufactured in Mexico for the North American market.

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     During the Relevant Period, many Thomson SA executives also served as executives and/or board
2
     members of Thomson Consumer, and Thomson Consumer executives served as executive officers
3
     of or directors of Thomson SA, including the Chairman and CEO of Thomson SA who
4
     simultaneously served as the President and CEO of Thomson Consumer, and thereafter as the
5
     Chairman of Thomson Consumer:
6

7
     Name                    Role with Thomson SA                Role with Thomson Consumer
     Thierry Breton          Chairman and CEO (1997-2001);       President & CEO (1997-2000);
                             Member, Board of Directors          Chairman (1997-2001)
9                            (2002-2005)
10   Olivier Mallet          Senior Vice President, Finance Director (1999-2000)
                             (1996-2000)
11   Charles Dehelly         Senior Executive Vice President     Director (2002-2003)
                             (1998-2000); Senior Executive
12                           Vice President and COO (2001);
                             CEO (2002-2004)
13
     Julian Waldron          Senior Executive Vice President, Director (2001-2007)
14                           CFO (2001-2007); Interim CEO
                             and Senior Executive Vice
15                           President, CFO (2007-2008)
     Frederic Rose           CEO (2008-present)                  Chairman (2012-present)
16

17   Moreover, numerous other Thomson SA "Executive Officers" had operational responsibilities in

18   the United States: Jim Meyer was Senior Executive Vice President of SBUs Americas,

19   Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU

20   Audio and Communications; Michael O'Hara was Senior Vice President of SBU Americas; and

21   Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at

22
     Thomson Consumer in Indianapolis, Indiana.

23
                      30.   Defendant Technicolor SA, which during the Relevant Period was

24   known as Thomson SA, has admitted that it participated in the conspiracy to fix the prices of

25   CRTs. In its 2011 Annual Report to shareholders, Technicolor SA stated that it "played a

26   minor role in the alleged anticompetitive conduct [regarding CRTsl." Following an

27   investigation lasting four years, in December 2012 the European Commission levied a fine of

28   €38.6 million against Technicolor SA for participating in a conspiracy to fix CRT prices. In its

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     2012 Annual Report, Technicolor SA acknowledged that "if lollowing the European

     Commission decision, purchasers may bring individual claims against the Company seeking

     compensation for alleged loss suffered as a result of the anti-competitive conduct."
                    31.     Thomson SA and Thomson Consumer are collectively referred to herein as
     "Thomson."
6
                    2.      Videocon
7

8                   32.     Defendant Videocon Industries, Ltd. ("Videocon") is an Indian corporation

9    with its principal place of business located at Aurangabad Paithan Road 14, KM Stone,

10   Chitegaon, Aurangabad 431005, India. In 2005, Videocon acquired Thomson's CRT business for

11   €240 million, which included facilities and personnel in the United States, Poland, Italy, Mexico

12   and China. The deal for Videocon to acquire Thomson SA's CRT business was completed

13   through a special purpose vehicle, Eagle Electronics. At the same time that Videocon purchased

14   Thomson's CRT business, Thomson SA invested a total of €240 million in Videocon, comprising

15   a €225 million investment in Videocon Industries, Ltd. and a €15 million investment in Videocon

16   International, and acquired 13.1% of Videocon Industries, Ltd. The agreement with Videocon

17   provided that Thomson management would help Videocon run the CRT business during the

18   transition period and beyond. Videocon and Thomson also to set up Preferred Supplier

19   Agreements for Thomson's displays components businesses. Thomson SA maintained at least a

20   10% ownership interest in Videocon throughout the Relevant Period. Thomson SA also received

21   one or more seats on Videocon's board of directors when it invested in Videocon. Videocon's

22   purchase of Thomson's CRT business included acquisition of Thomson Displays Americas LLC

23   (now known as Technologies Displays Americas, LLC) and its Mexican subsidiary, Thomson

24   Displays Mexicana, S.A. de C.V. (now known as Technologies Displays Mexicana, S.A. de

25   C.V.), including their facilities and personnel located in the United States, through Videocon's

26   wholly owned investment entity located in the Cayman Islands, Eagle Corporation Limited.

27   Videocon manufactured CRTs for the United States market in Thomson's former CRT plants in

28   Mexicali, Mexico and China. During the Relevant Period, Videocon manufactured, marketed,

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sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or

affiliates, to customers throughout the United States.

               3.      Technologies Displays

               33.     Defendant Technologies Displays Americas LLC (formerly Thomson
Displays Americas LLC) ("TDA") is a Delaware limited liability company with its principal

place of business located at 1778 Can Road Ste 4B, Calexico, California 92231. TDA is a wholly

owned subsidiary of Videocon. TDA acquired Thomson's U.S. CRT assets in 2005 after a period

of cooperation and transition with Thomson entities subsequent to and in connection with the

purchase and sale in 2005. TDA was originally formed with its governing members represented

equally from both Thomson and Videocon. TDA is owned by Eagle Corp., Ltd. Eagle Corp.,

Ltd. became a wholly owned subsidiary of Videocon on December 31, 2005, after Videocon

acquired the balance 81% equity stake in Eagle Corp., Ltd. Eagle Corp. acquired TDA in

September 2005. In August 2005, Thomson Consumer made a capital contribution to TDA in the

form of a transfer of assets and contract rights related to TDA's North American CRT business.
TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana, S.A. de

C.V., a Mexican corporation which during the Relevant Period manufactured CRTs and sold the
CRTs to TDA for sale and distribution. During the Relevant Period, TDA manufactured,

marketed, sold and/or distributed CRT Products, either directly or indirectly through its

subsidiaries or affiliates, to customers throughout the United States. Defendants Thomson and

then Videocon dominated and/or controlled the finances, policies, and/or affairs of TDA and its

subsidiary Technologies Displays Mexicana, S.A. de C.V., relating to the antitrust violations
alleged in this Complaint. Two high-level Thomson managers — Thomson's Managing Director
of NAFTA Sales, Jack K. Brunk ("Brunk"), and Thomson's General Manager, James P.

Hanrahan ("Hanrahan") — transitioned to work for TDA after it acquired Thomson's CRT

business. In addition, TDA referred to itself as a "Thomson" business after Videocon's

acquisition of Thomson's CRT business. TDA and Technologies Displays Mexicana, S.A. de
C.V., are collectively referred to as "Technologies Displays"

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               4.      Mitsubishi Entities

               34.     Defendant Mitsubishi Electric Corporation ("Mitsubishi Electric Japan")

is a Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,

Japan. Mitsubishi Electric is a Fortune Global 500 Company that was ranked 214 in 2011 and

that had combined net sales of over $44 billion in 2012. It has various subsidiaries operating in

the United States, Mexico and Canada. Mitsubishi Electric Japan and its subsidiaries

manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the

United States. These CRTs were sold internally to Mitsubishi's television and monitor

manufacturing division and to other television and monitor manufacturers in the United States
and elsewhere. Mitsubishi's television and monitor division also purchased CRTs from other
CRT manufacturers. During the Relevant Period, Mitsubishi Electric Japan manufactured,

marketed, sold and distributed CRT Products in the United States.
               35.     Defendant Mitsubishi Electric & Electronics USA, Inc. ("Mitsubishi

Electric USA") is a United States corporation located at 5665 Plaza Drive, Cypress, California
90630. Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan.

Mitsubishi Electric USA manufactured CRTs for the United States market in plants located in

Mexicali, Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its
television and monitor manufacturing division and to other television and monitor manufacturers

in the United States and elsewhere. Mitsubishi's television and monitor division also purchased

CRTs from other CRT manufacturers. During the Relevant Period, Mitsubishi Electric USA

manufactured, marketed, sold and distributed CRT Products in the United States.

               36.     Defendant Mitsubishi Electric Visual Solutions America, Inc. (f/k/a
Mitsubishi Digital Electronics America, Inc.) ("Mitsubishi Digital") is a United States

corporation located at 9351 Jeronimo Road, Irvine, California 92618. Mitsubishi Digital is a

wholly-owned subsidiary of Mitsubishi Electric Japan. During the Relevant Period, Mitsubishi

Digital manufactured, marketed, sold and distributed CRT Products in the United States.



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                  37.    Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital
are collectively referred to herein as "Mitsubishi."

             C.   Co-Conspirators
                  38.    Various persons and firms not named as Defendants in this Complaint
participated as co-conspirators in the violations alleged herein and performed acts and made

statements in furtherance of the conspiracy to fix, raise, stabilize and maintain prices for CRTs.

Many of these co-conspirators are named as defendants in the related case pending in this Court
styled Best Buy v. Hitachi. Specific information regarding the identity of these co-conspirators

and their participation in the CRT price-fixing conspiracy is set forth in the First Amended
Complaint in Best Buy v. Hitachi.

                  Hitachi Entities

                  39.    Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place

of business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is
the parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.'s worldwide

market share for color CRTs was 20 percent. During the Relevant Period, Hitachi, Ltd.
manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
subsidiaries or affiliates, throughout the United States.

                  40.    Co-conspirator Hitachi Displays, Ltd. ("Hitachi Displays") is a Japanese
company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,

297-8622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi, Ltd.

in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development, design,

manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off to

create a separate company called Hitachi Displays. During the Relevant Period, Hitachi Displays
manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd. dominated

and controlled the finances, policies and affairs of Hitachi Displays relating to the antitrust
violations alleged in this complaint.

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                41.     Co-conspirator Hitachi America, Ltd. ("Hitachi America") is a New York

company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New

York 10591. Hitachi America is a wholly-owned and controlled subsidiary of Defendant Hitachi,

Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
                42.     Co-conspirator Hitachi Asia, Ltd. ("Hitachi Asia") is a Singaporean

company with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi
Square, Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of

Defendant Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold

and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,

throughout the United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances,
policies and affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
                43.     Co-conspirator Hitachi Electronic Devices (USA), Inc. ("HEDUS") is a

Delaware corporation with its principal place of business located at 1000 Hurricane Shoals Road

Suite D-100, Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd and
Hitachi Displays. During the Relevant Period, HEDUS manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the

finances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
complaint.

                44.     Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd.
("Hitachi Shenzhen") was a Chinese company with its principal place of business located at
5001 Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned

at least a 25% interesting in Hitachi Shenzhen until November 8, 2007 (which was coincidentally

around the time that the government investigations into the CRT industry began). Thus, Hitachi

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Shenzhen was a member of the Hitachi corporate group for all but the last two weeks of the

Relevant Period. During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold

and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,

throughout the United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and

controlled the finances, policies and affairs of Hitachi Shenzhen relating to the antitrust violations
alleged in this complaint.

                  45.   Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi

Asia, HEDUS and Hitachi Shenzhen are collectively referred to herein as "Hitachi."

                  IRICO Entities
                  46.   Co-conspirator IRICO Group Corporation ("IGC") is a Chinese company
with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province

712021. IGC is the parent company for multiple subsidiaries engaged in the manufacture,
marketing, distribution and sale of CRT Products. During the Relevant Period, IGC

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
subsidiaries or affiliates, throughout the United States.
                  47.   Co-conspirator IRICO Group Electronics Co., Ltd. ("IGE") is a Chinese
company with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi

Province 712021. IGE is owned by Defendant IGC. According to its website, IGE was the first

CRT manufacturer in China and one of the leading global manufacturers of CRTs. Its website

also claims that in 2003 it was the largest CRT manufacturer in China in terms of production and

sales volume, sales revenue and aggregated profit, and taxation. During the Relevant Period, IGE

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and

controlled the finances, policies and affairs of IGE relating to the antitrust violations alleged in
this complaint.

                  48.   Co-conspirator IRICO Display Devices Co., Ltd. ("IDDC") is a Chinese
company with its principal place of business located at No. 16, Fenghui South Road West,

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District High-tech Development Zone, Xi'an, SXI 710075. IDDC is a partially-owned subsidiary

of co-conspirator IGC. In 2006, IDDC was China's top CRT maker. During the Relevant Period,

IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through

its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and

controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
this complaint.

                  49.    Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
"IRICO."

                  LG Electronics Entities
                  50.    Co-conspirator LG Electronics, Inc. ("LGEI") is a corporation organized

under the laws of the Republic of Korea with its principal place of business located at LG Twin

Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5

billion global force in consumer electronics, home appliances and mobile communications, which
established its first overseas branch office in New York in 1968. The company's name was

changed from Gold Star Communications to LGEI in 1995, the year in which it also acquired

Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint venture
with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays ("LGPD").

On April 1, 2007, LGPD became an independent company and changed its name to LP Displays
International Ltd. During the Relevant Period, LGEI manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
United States.

                  51.   Co-conspirator LG Electronics USA, Inc. ("LGEUSA") is a Delaware

corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,

New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator

LGEI. During the Relevant Period, LGEUSA manufactured, marketed, sold and/or distributed
CRT Products, either directly or through its subsidiaries or affiliates, throughout the United

States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of

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LGEUSA relating to the antitrust violations alleged in this complaint.

                52.    Co-conspirator LG Electronics Taiwan Taipei Co., Ltd. ("LGETT") is a

Taiwanese entity with its principal place of business located at 7F, No. 47, Lane 3, Jihu Road,
NeiHu District, Taipei City, Taiwan. LGETT is a wholly-owned and controlled subsidiary of co-

conspirator LGEI. During the Relevant Period, LGETT manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of

LGETT relating to the antitrust violations alleged in this complaint.

                53.    Co-conspirators LGEI, LGEUSA and LGETT are collectively referred to
herein as "LG Electronics."

                LP Displays
                54.    Co-conspirator LP Displays International Ltd. f/k/a LGPD ("LP Displays")

is a Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des

Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal

Philips. In March 2007, LP Displays became an independent company. LP Displays is a leading

supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of

over $2 billion and a market share of 27%. LP Displays announced in March 2007 that Royal
Philips and LGEI would cede control over the company and the shares would be owned by

financial institutions and private equity firms. During the Relevant Period, LP Displays

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
subsidiaries or affiliates, throughout the United States.

               Panasonic Entities
               55.     Co-conspirator Panasonic Corporation, which was at all times during the

Relevant Period known as Matsushita Electric Industrial Co, Ltd. and only became Panasonic
Corporation on October 1, 2008, is a Japanese entity located at 1006 Oaza Kadoma, Kadoma-shi,

Osaka 571-8501, Japan. During the Relevant Period, Panasonic Corporation manufactured,

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marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or

affiliates, throughout the United States.

                56.    Co-conspirator Panasonic Corporation of North America ("PCNA") is a

Delaware corporation with its principal place of business located at One Panasonic Way,

Secaucus, New Jersey 07094. PCNA is a wholly-owned and controlled subsidiary of co-

conspirator Panasonic Corporation. During the Relevant Period, PCNA manufactured, marketed,

sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,

throughout the United States. Co-conspirator Panasonic Corporation dominated and controlled
the finances, policies and affairs of PCNA relating to the antitrust violations alleged in this

complaint.

                57.     Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.

("Matsushita Malaysia") was a Malaysian company with its principal place of business located
at Lot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia

40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator

Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
Display Co., Ltd. ("MTPD"), its CRT joint venture with Toshiba Corporation, in 2003. It was re-

named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary of

MTPD until its closure in 2006. During the Relevant Period, Matsushita Malaysia manufactured,
marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or

affiliates, throughout the United States. Co-conspirator Panasonic Corporation dominated and

controlled the finances, policies and affairs of Matsushita Malaysia relating to the antitrust

violations alleged in this complaint.

                58.     Co-conspirators Panasonic Corporation, PCNA, and Matushita Malaysia

are collectively referred to herein as "Panasonic."

                59.     Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba

Picture Display Co., Ltd. ("MTPD") is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-
shi, Osaka, 571-8504, Japan. In 2002, Panasonic Corporation entered into a joint venture with co-

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conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to

manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On March

30, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint venture,

making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic

Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
subsidiaries or affiliates, throughout the United States.
                60.     Co-conspirator Beijing Matsushita Color CRT Co., Ltd. ("BMCC") is a
Chinese company with its principal place of business located at No. 9 Jiuxianqiao N. Rd.,

Dashanzi Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is

held by co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co.,
Ltd., China National Electronics Import & Export Beijing Company (a China state-owned

enterprise), and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a

China state-owned enterprise). Formed in 1987, BMCC was Panasonic Corporation's first CRT
manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in

China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed CRT

Products, either directly or through its subsidiaries or affiliates, throughout the United States.

                Philips Entities
                61.     Co-conspirator Koninklijke Philips Electronics NY. a/k/a Royal Philips
Electronics ("Royal Philips") is a Dutch company with its principal place of business located at

Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one of
the world's largest electronics companies, with 160,900 employees located in over 60 countries.

Royal Philips had sole ownership of its CRT business until 2001. In 2001, Royal Philips

transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI, forming co-

conspirator LGPD (n/k/a LP Displays). In December 2005, as a result of increased pressure on
demand and prices for CRT Products, Royal Philips wrote off the remaining book value of 126

million Euros of its investment and said it would not inject further capital into the venture.

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During the Relevant Period, Royal Philips manufactured, marketed, sold and/or distributed CRT

Products, either directly or through its subsidiaries or affiliates, throughout the United States.

                62.     Co-conspirator Philips Electronics North America Corporation ("Philips

America") is a Delaware corporation with its principal place of business located at 1251 Avenue

of the Americas, New York, New York 10020-1104. Philips America is a wholly-owned and

controlled subsidiary of co-conspirator Royal Philips. During the Relevant Period, Philips

America manufactured, marketed, sold and/or distributed CRT Products, either directly or

through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
dominated and controlled the finances, policies and affairs of Philips America relating to the
antitrust violations alleged in this complaint.

                63.     Co-conspirator Philips Electronics Industries (Taiwan), Ltd. ("Philips
Taiwan") is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu

Street, Nangang District, Taipei, Taiwan. Philips Taiwan is a subsidiary of co-conspirator Royal
Philips. During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States. Co-conspirator Royal Philips dominated and controlled the finances, policies and
affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
                64.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. ("Philips
Brazil") is a Brazilian company with its principal place of business located at Av Torquato

Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a

wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant

Period, Philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator

Royal Philips dominated and controlled the finances, policies and affairs of Philips Brazil relating
to the antitrust violations alleged in this complaint.

                65.     Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips
Brazil are collectively referred to herein as "Philips."

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                Samsung Entities

                66.     Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device
Company ("Samsung SDI") is a South Korean company with its principal place of business

located at 575 Shin-dong, Youngtong-gu, Suwon, South Korea. Samsung SDI is a public
company. Samsung Electronics Corporation ("SEC") is a major shareholder of Samsung SDI,

holding almost 20 percent of the stock. Founded in 1970, Samsung SDI claims to be the world's

leading company in the display and energy business, with 28,000 employees and facilities in 18

countries. In 2002, Samsung SDI held a 34.3% worldwide market share in the market for CRTs;

more than any other producer. Samsung SDI has offices in Chicago and San Diego. During the
Relevant Period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products,
either directly or through its subsidiaries or affiliates, throughout the United States. SEC

dominated and controlled the finances, policies and affairs of Samsung SDI relating to the
antitrust violations alleged in this complaint.
                67.     Co-conspirator Samsung SDI America, Inc. ("Samsung SDI America") is

a California corporation with its principal place of business located at 3333 Michelson Drive,

Suite 700, Irvine, California 92612. Samsung SDI America is a wholly-owned and controlled

subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI

dominated and controlled the finances, policies and affairs of Samsung SDI America relating to
the antitrust violations alleged in this complaint.
                68.     Co-conspirator Samsung SDI Mexico S.A. de C.V. ("Samsung SDI
Mexico") is a Mexican company with its principal place of business located at Blvd. Los Olivos,
No. 21014, Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a

wholly-owned and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant

Period, Samsung SDI Mexico manufactured, marketed, sold and/or distributed CRT Products,
either directly or through its subsidiaries or affiliates, throughout the United States. SEC and co-

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conspirator Samsung SDI dominated and controlled the finances, policies and affairs of Samsung

SDI Mexico relating to the antitrust violations alleged in this complaint.

                69.     Co-conspirator Samsung SDI Brasil Ltda. ("Samsung SDI Brazil") is a

Brazilian company with its principal place of business located at Av. Eixo Norte Sul, S/N,

Distrito Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-

owned and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period,

Samsung SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either

directly or through its subsidiaries or affiliates, throughout the United States. SEC and co-
conspirator Samsung SDI dominated and controlled the finances, policies and affairs of Samsung
SDI Brazil relating to the antitrust violations alleged in this complaint.

                70.     Co-conspirator Shenzhen Samsung SDI Co., Ltd. ("Samsung SDI

Shenzhen") is a Chinese company with its principal place of business located at Huanggang Bei

Lu, Futian Gu, Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled

subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen
manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI

dominated and controlled the finances, policies and affairs of Samsung SDI Shenzhen relating to
the antitrust violations alleged in this complaint.
                71.     Co-conspirator Tianjin Samsung SDI Co., Ltd. ("Samsung SDI Tianjin")
is a Chinese company with its principal place of business located at Developing Zone of Yi-Xian

Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled

subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI

dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to the
antitrust violations alleged in this complaint.

                72.     Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. ("Samsung SDI

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Malaysia") is a Malaysian corporation with its principal place of business located at Lots 635 &
660, Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul

Khusus, Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-

conspirator Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured,

marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or

affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and

controlled the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust

violations alleged in this complaint.
                 73.      Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI

Mexico, Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI

Malaysia are collectively referred to herein as "Samsung SDI."
                 Samtel

                 74.      Co-conspirator Samtel Color Ltd. ("Samtel") is an Indian company with its

principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-

110065. Samtel's market share for CRTs sold in India is approximately 40%, and it is that

country's largest exporter of CRT Products. Samtel has gained safety approvals from the United

States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant Period,

Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through

its subsidiaries and affiliates, throughout the United States.
                 Thai CRT

                 75.      Co-conspirator Thai CRT Co., Ltd. ("Thai CRT") is a Thai company

located at 1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary

of Siam Cement Group, and it was established in 1986 as Thailand's first manufacturer of CRTs
for color televisions. During the Relevant Period, Thai CRT manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
United States.



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                Toshiba Entities
                76.     Co-conspirator Toshiba Corporation ("TC") is a Japanese company with its

principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001, Japan.

In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions and in
computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two other

non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia ("TED!") in
Indonesia. TEDI was projected to have an annual production capacity of 2.3 million CRTs by

1999. In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic

Corporation, in which the entities consolidated their CRT businesses. During the Relevant

Period, IC manufactured, marketed, sold and/or distributed CRT Products, either directly or
through its subsidiaries or affiliates, throughout the United States.

                77.     Co-conspirator Toshiba America, Inc. ("Toshiba America") is a Delaware

corporation with its principal place of business located at 1251 Avenue of the Americas, Suite

4110, New York, New York 10020. Toshiba America is a wholly-owned and controlled
subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,

marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or

affiliates, throughout the United States. Co-conspirator TC dominated and controlled the
finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in this
complaint.

                78.     Co-conspirator Toshiba America Consumer Products, LLC ("TACP") is a

limited liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-

3114. TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba

America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed

CRT Products, either directly or through its subsidiaries or affiliates, throughout the United

States. Co-conspirator IC dominated and controlled the finances, policies and affairs of TACP
relating to the antitrust violations alleged in this complaint.

                79.     Co-conspirator Toshiba America Electronic Components, Inc. ("TAEC") is
a California corporation with its principal place of business located at 19900 MacArthur
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Boulevard, Suite 400, Irvine, California 92612. TAEC is a wholly-owned and controlled

subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. Co-conspirator TC dominated and

controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged in

this complaint.
                  80.   Co-conspirator Toshiba America Information Systems, Inc. ("TAIS") is a

California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
California 92618-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,

throughout the United States. Co-conspirator TC dominated and controlled the finances, policies

and affairs of TAIS relating to the antitrust violations alleged in this complaint.
                  81.   Co-conspirator P.T. Tosummit Electronic Devices Indonesia ("TEDI") was

a CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December

1995. TEDI's principal place of business was located in Indonesia. TEDI was projected to have

an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI was transferred to

co-conspirator MTPD, TC's joint venture with Panasonic Corporation, and its name was changed

to PT.MT Picture Display Indonesia. During the Relevant Period, TEDI manufactured, marketed,
sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,

throughout the United States. Co-conspirator TC dominated and controlled the finances, policies,

and affairs of TEDI relating to the antitrust violations alleged in this complaint.
                  82.   Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. ("TDDT")

was a Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial

Estate, Tivanon Road, Pathum Thani, Thailand 12000. TDDT was a wholly-owned and
controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator

MTPD, TC's joint venture with Panasonic Corporation. It was re-named MT Picture Display

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(Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its

closure in 2007. During the Relevant Period, TDDT manufactured, marketed, sold and/or

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States. Co-conspirator TC dominated and controlled the finances, policies and affairs of
TDDT relating to the antitrust violations alleged in this complaint.

                83.     Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and
TDDT are collectively referred to herein as "Toshiba."

                Orion/Daewoo Entities

                84.     Co-conspirator Orion Electronic Co. ("Orion") was a Korean corporation.

It filed for bankruptcy in 2004. Orion was a major manufacturer of CRT Products. In 1995,
approximately 85% of Orion's $1 billion in sales was attributed to CRT Products. Orion was

involved in CRT Products sales and manufacturing joint ventures and had subsidiaries all over the

world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiff is
informed and believes that Orion was wholly owned by the "Daewoo Group." The Daewoo
Group included Daewoo Electronics Co., Ltd. ("Daewoo Electronics"), Daewoo Telecom Co.,

Daewoo Corporation, and Orion Electronic Components Co. The Daewoo Group was dismantled
in or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners in an entity
called Daewoo-Orion Societe Anonyme ("DOSA") in France. As of approximately 1996, DOSA

produced 1.2 million CRTs annually. Daewoo sold DOSA's CRT business in or around 2004.

During the Relevant Period, Orion, Daewoo Electronics, and DOSA manufactured, marketed,

sold and/or distributed CRTs and/or CRT Products, either directly or through their subsidiaries of
affiliates, throughout the United States.

               85.     Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively
referred to herein as "Daewoo."

               Chunghwa Entities

               86.     Co-conspirator Chunghwa Picture Tubes, Ltd. ("CPT") is a Taiwanese
company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,

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Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In 1974, CPT's

CRTs received certification by the United States, giving the company entry into that market.
Throughout the Relevant Period, CPT was one of the major global CRT manufacturers. During

the Relevant Period, CPT manufactured, marketed, sold and/or distributed CRT Products, either

directly or through its subsidiaries or affiliates (such as its Fuzhou subsidiary), throughout the
United States.

                 87.    Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
("Chunghwa Malaysia") is a Malaysian company with its principal place of business at Lot I,

Subang Hi-Tech Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It
is a wholly-owned subsidiary of CPT. Chunghwa Malaysia is focused on CRT production, and it

has established itself as one of the leading worldwide suppliers of CRTs. During the Relevant

Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products,
either directly or through its subsidiaries or affiliates, throughout the United States. Co-
conspirator CPT dominated and controlled the finances, policies and affairs of Chunghwa
Malaysia relating to the antitrust violations alleged in this complaint.
                 88.    Co-conspirators CPT and Chunghwa Malaysia are collectively referred to
herein as "Chunghwa."

                 Tatung
                 89.    Co-conspirator Tatung Company of America, Inc. ("Tatung America") is

a California corporation with its principal place of business located at 2850 El Presido Street,

Long Beach, California. Tatung America is a subsidiary of Tatung Company. Currently, Tatung

Company owns approximately one-half of Tatung America. The other half used to be owned by

Lun Kuan Lin, the daughter of Tatung Company's former Chairman T.S. Lin. Following Lun

Kuan Lin's death, her share passed to her two children. During the Relevant Period, Tatung
America manufactured, marketed, sold and/or distributed CRT Products manufactured by, among

others, CPT, either directly or through its subsidiaries or affiliates, throughout the United States.



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                Technologies Displays Mexicana
                90.     Co-conspirator Technologies Displays Mexicana, S.A. de C.V.

("Technologies Displays Mexicana"), formerly known as Thomson Displays Mexicana, is a

Mexican corporation with its principal place of business located at Calz. Robledo Industrial

Colorad, Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is a wholly owned

subsidiary of defendant TDA, which is itself a wholly owned subsidiary of defendant Videocon.

During the Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold
and/or distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to

customers throughout the United States. Defendants Thomson SA and later Videocon and TDA
dominated and/or controlled the finances, policies and/or affairs of Technologies Displays
Mexicana relating to the antitrust violations alleged in this Complaint.
               TCL Thompson
               91.     Co-conspirator TCL Thomson Electronics Corporation ("TCL Thomson")
is a joint venture formed between Thomson SA and TCL International Holdings Ltd. ("TCL").

TCL Thomson is headquartered at the TCL Building, South Nanhai Road, Nanshan District,

Shenzhen, Guangdong, China. During the Relevant Period, TCL Thomson manufactured,

marketed, sold and/or distributed CRT Products, either directly or indirectly through subsidiaries

or affiliates, to customers throughout the United States. One of the direct or indirect subsidiaries
of TCL Thomson or TCL that manufactured, marketed, sold and/or distributed CRT Products in

the United States was TTE Technology, Inc. ("TTE"). Defendant Thomson SA dominated and/or

controlled the finances, policies and/or affairs of TCL Thomson and TTE relating to the antitrust
violations alleged in this Complaint.

IV.      AGENTS

               92.     The acts alleged against Defendants in this Complaint were authorized,
ordered, or done by their officers, agents, employees, or representatives, while actively engaged in
the management and operation of Defendants' businesses or affairs.
               93.     Each Defendant or co-conspirator acted as the principal, agent, or joint

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venturer of, or for, other Defendants and co-conspirators with respect to the acts, violations, and
common course of conduct alleged by Plaintiff. Each Defendant and co-conspirator that is a

subsidiary of a foreign parent acts as the United States agent for CRTs and/or CRT Products
made by its parent company.

                 94.   The acts charged in this Complaint have been done by Defendants and their
co-conspirators, or were authorized, ordered or done by their respective officers, agents,

employees or representatives while actively engaged in the management of each Defendant's or
co-conspirator's business or affairs.

V. TRADE AND COMMERCE

                 95.   During the Relevant Period, each Defendant, or one or more of its
subsidiaries, sold CRT Products in the United States in a continuous and uninterrupted flow of

interstate commerce and foreign commerce, including through and into this judicial district.
                 96.   During the Relevant Period, Defendants and their co-conspirators
collectively controlled a vast majority of the market for CRT Products, both globally and in the
United States.
                 97.   The business activities of Defendants substantially affected interstate trade
and commerce in the United States, caused antitrust injury in the United States, and restrained

competition. The business activities of Defendants also substantially affected trade and

commerce in California and Minnesota and caused antitrust injuries and restrained competition in
California and Minnesota.

VI. FACTUAL ALLEGATIONS
             A. CRT Technology

                 98.   A CRT has three components: (a) one or more electron guns, each of which
is a series of metallic structures used to generate a beam of electrons; (b) a magnetic or other

deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that
phosphoresces when struck by an electron beam, thereby producing a viewable image. A

faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate
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       coated with multiple colors of phosphor produces a polychromatic image. An aperture or shadow
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       mask—a thin screen of perforated metal—is welded to the faceplate panel and, to produce a color
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       image, is coated and rinsed multiple times, leaving a surface of thousands of narrow lines of red,
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       green, blue and black.
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                      99.       CRT technology was first developed more than a century ago. The first
6
       commercially practical CRT television was made in 1931. However, it was not until RCA
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       Corporation introduced the product at the 1939 World's Fair that it became widely available to
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       consumers. After that, CRTs became the heart of most display products, including televisions,
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       computer monitors, oscilloscopes, air traffic control monitors and ATMs.
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                      100.      The quality of a CRT itself determines the quality of the CRT display. No
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       external control or feature can make up for a poor quality tube. In this regard, the CRT defines
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       the whole CRT product so that the product is often simply referred to as "the CRT."
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                      101.      Although there have been refinements and incremental advancements along
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       the way since then, such as the development of thinner CRTs and CRTs with a flat screen, the
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       CRT technology used today is similar to that RCA unveiled in 1939.
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                      102.      CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are
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       used primarily in televisions and related devices and CDTs are primarily used in computer
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       monitors and similar devices. The primary difference is that CDTs typically yield a higher
19
       resolution image requiring more pixels than do CPTs.
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                      103.      CRTs have no independent utility, and have value only as components of
21
       other products, such as TVs and computer monitors. The demand for CRTs thus directly derives
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       from the demand for such products.
23
                      104.      The market for CRTs and the market for the products into which they are
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       placed are inextricably linked and intertwined because the CRT market exists to serve the CRT
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       Products markets. The markets for CRTs and CRT Products are, for all intents and purposes,
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       inseparable in that one would not exist without the other.
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                      105.      Best Buy has participated in the market for CRTs through their direct
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1
     purchases from Defendants of CRT Products containing price-fixed CRTs and their purchases of
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     CRT Products containing price-fixed CRTs indirectly from non-Defendant original equipment
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     manufacturers ("OEM") and others. Defendants' unlawful conspiracy has inflated the prices at
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     which Best Buy bought CRT Products, and Best Buy has been injured thereby and paid supra-
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     competitive prices for CRT Products.
6
     B.           Structure of the CRT Industry
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                        106. The CRT industry has several characteristics that facilitated a conspiracy,
     including market concentration, ease of information sharing, the consolidation of manufacturers,
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     multiple interrelated business relationships, significant barriers to entry, heightened price
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     sensitivity to supply and demand forces and homogeneity of products.
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                        1.     Market Concentration
                        107. During the Relevant Period, the CRT industry was dominated by relatively
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     few companies. In 2004, Co-Conspirators Samsung SDI, LGPD (n/k/a LP Displays), MTPD, and
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     Chunghwa, together held a collective 78% share of the global CRT market. The high
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     concentration of market share facilitates coordination because there are fewer cartel members
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     among which to coordinate pricing or allocate markets, and it is easier to monitor the pricing and
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     production of other cartel members.
18
                        2.     Information Sharing
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                        108. Because of common membership in trade associations, interrelated
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     business arrangements such as joint ventures, allegiances between companies in certain countries
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     and relationships between the executives of certain companies, there were many opportunities for
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     Defendants to discuss and exchange competitive information. The ease of communication was
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     facilitated by the use of meetings, telephone calls, e-mails and instant messages. Defendants took
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     advantage of these opportunities to discuss, and agree upon, their pricing for CRTs as alleged
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     below.
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                        109. Co-conspirators Hitachi, Chunghwa, and Samsung are all members of the
27
     Society for Information Display. Samsung and LG Electronics are two of the co-founders of the
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Korea Display Industry Association. Similarly, Co-conspirators Daewoo, LG Electronics, LP

Displays and Samsung are members of the Electronic Display Industrial Research Association.

Upon information and belief, Defendants and their Co-Conspirators used these trade associations

as vehicles for discussing and agreeing upon their pricing for CRTs. At the meetings of these

trade associations, Defendants exchanged proprietary and competitively sensitive information

which they used to implement and monitor the conspiracy.

               3.       Consolidation
               110. The CRT industry also had significant consolidation during the Relevant

Period, including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
involving Philips' and LG Electronics' CRT businesses; and (b) the 2002 merger of Toshiba's
and Panasonic's CRT businesses into MTPD.

               4.       Multiple Interrelated Business Relationships
               111.     The industry is marked by a web of cross-licensing agreements, joint
ventures and other cooperative arrangements that can facilitate collusion.
               112.     Examples of the high degree of cooperation among Defendants and their

co-conspirators in both the CRT Product market and other closely related markets include the
following:

                    a. The formation of the CRT joint venture LGPD in 2001 by co-conspirators

                       LG Electronics and Philips.
                    b. Co-conspirators LG Electronics and Philips also formed LG.Philips LCD

                       Co., Ltd. n/k/a LG Display Co., Ltd. in 1999 as a joint venture for the
                       purpose of manufacturing TFT-LCD panels.
                    c. The formation of the CRT joint venture MTPD in 2003 by co-conspirators

                       Toshiba and Panasonic.
                    d. Co-conspirators Toshiba and Panasonic also formed Toshiba-Matsushita

                       Display Technology Co., Ltd. as a joint venture for the purpose of
                       manufacturing TFT-LCD panels.

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                    e. In December 1995, Co-conspirator Toshiba partnered with Orion and two
                         other non-Defendant entities to form TEDI, which manufactured CRTs in

                         Indonesia.
                    f. Co-conspirators Toshiba and Orion also signed a cooperative agreement
                         relating to LCDs in 1995. Pursuant to the agreement, Daewoo produced

                         STN-LCDs, and Toshiba, which had substituted its STN-LCD production

                         with TFT-LCD production, marketed Daewoo's STN-LCDs globally

                         through its network.
                    g. Also in 1995, co-conspirator Toshiba entered into a technology transfer
                         agreement with co-conspirator Chunghwa for large CPTs.

                    h. Co-conspirator Chunghwa has a joint venture with co-conspirator Samsung

                         for the production of LCD panels. Chunghwa now licenses the technology
                         from co-conspirator Philips, a recent development that helped resolve a

                         patent infringement suit filed in 2002.
                    i. Co-conspirators LG Electronics and Hitachi entered into a joint venture in

                         2000 for the manufacture, sale and distribution of optical storage products

                         such as DVD drives.

                    j.   Co-conspirator Samtel participates in a joint venture, Samcor Glass

                         Limited, with co-conspirator Samsung and non-Defendant Corning Inc.,

                         USA for the production and supply of picture tube glass.

                    k. Co-conspirator Samtel claims to have supplied CRTs to co-Conspirators LG
                         Electronics, Philips, Panasonic, and Samsung.

               5.        High Costs of Entry Into the Industry
               113. There are significant manufacturing and technological barriers to entry into

the CRT industry. It would require substantial time, resources and industry knowledge to
overcome these barriers to entry. It is also extremely unlikely that a new producer would enter

the market in light of the declining demand for CRT Products.

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                114.      During the Relevant Period, the costs of the assembly components, both as

a whole and individually, have been generally declining, and, in some periods, declining at a

substantial rate. A combination of price discussions and manipulation of the output of CRTs

allowed Defendants and their co-conspirators to keep prices above where they would have been
but for the conspiracy.

                6.        The Maturity of the CRT Product Market
                115.      Newer industries typically are characterized by rapid growth, innovation
and high profits. The CRT Product market is a mature one, and like many mature industries, is
characterized by slim profit margins, creating a motivation to collude.
                116.      Demand for CRT Products was declining throughout the Relevant Period.
Static declining demand is another factor which makes the formation of a collusive arrangement

more likely because it provides a greater incentive to firms to avoid price competition.
                117.      In addition, conventional CRT televisions and computer monitors were

being rapidly replaced by TFT-LCD and plasma displays. This was one of the factors which led

Defendants to engage in this alleged price fixing scheme in order to slow down declining CRT

Product prices. Between 2000 and 2006, revenues from the sale of CRT televisions in the United

States declined by 50.7 percent and were predicted to decline by an additional 84.5 percent
between 2006 and 2010.

                118.      Although demand was declining as a result of the popularity of flat-panel
LCD and plasma televisions and LCD monitors, CRT televisions and monitors were still the

dominant display technology during the Relevant Period, making Defendants' collusion and the

international price fixing conspiracy worthwhile. Due to the high costs of LCD panels and

plasma displays during the Relevant Period, a substantial market for CRT Products existed as a
cheaper alternative to these new technologies.

               119.       In 1999, CRT monitors accounted for 94.5 percent of the retail market for
computer monitors in North America. By 2002, that figure had dropped to 73 percent; still a
substantial share of the market.

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                  120. As for CRT televisions, they accounted for 73 percent of the North

American television market in 2004, and by the end of 2006, still held a 46 percent market share.

                  7.     Homogeneity of CRT Products
                  121. CRT Products are commodity-like products which are manufactured in

standardized sizes. One Defendant or co-conspirator's CRT Product for a particular application,

such as a particular size television set or computer monitor, is substitutable for another's.

Defendants sold and Plaintiffs purchased CRT Products primarily on the basis of price.

                  122. It is easier to form and sustain a cartel when the product in question is
commodity-like because it is easier to agree on prices to charge and to monitor those prices once
an agreement is formed.

             C.   Pre-Conspiracy Market
                  123. The genesis of the CRT conspiracy was in the late 1980s as the CRT

Products business became more international and Defendants began serving customers that were

also being served by other international companies. During this period, the employees of

Defendants would encounter employees from their competitors when visiting their customers. A

culture of cooperation developed over the years and these Defendant employees would exchange

market information on production, capacity and customers.

                  124. In the early 1990s, representatives from con-conspirator Samsung SDI,

Daewoo, Chunghwa, and Orion visited each other's factories in Southeast Asia. During this

period, these producers began to include discussions about price in their meetings.

         D.       Defendants' and Co-Conspirators' Illegal Agreements

                  125. In order to control and maintain profitability during declining demand for

CRT Products, Defendants and their co-conspirators have engaged in a contract, combination,

trust or conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices

at which they sold CRTs to artificially inflated levels from at least March 1, 1995 through at least

November 25, 2007.


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                126.   The CRT conspiracy was effectuated through a combination of group and

bilateral meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions

were the primary method of communication and took place on an informal, ad hoc basis. During

this period, representatives from Daewoo, LG Electronics and Samsung SDI visited other

manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic, to

discuss increasing prices for CRTs in general and to specific customers. These meetings took

place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung

SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings during

this period. The participants at these group meetings also discussed increasing prices for CRTs.

               127.    As more manufacturers formally entered the conspiracy, group meetings

became more prevalent. Beginning in 1997, group meetings occurred in a more organized,

systematic fashion, and a formal system of multilateral and bilateral meetings was put in place.

               128.    The overall CRT conspiracy raised and stabilized worldwide and U.S.

prices that Defendants and their co-conspirators charged for CRTs.

               1.      "Glass Meetings"

               129.    The group meetings among the participants in the CRT price-fixing

conspiracy were referred to as "glass meetings" or "GSM." Glass meetings were attended by

employees at three general levels of the participant corporations.

               130.    The first level meetings were attended by high level company executives

including CEOs, Presidents, and Vice Presidents, and were known as "top" meetings. Top

meetings occurred less frequently, typically quarterly, and were focused on longer term

agreements and forcing compliance with price fixing agreements. Because attendees at top

meetings had authority as well as more reliable information, these meetings resulted in

agreements. Attendees at top meetings were also able to resolve disputes because they were

decision makers who could make agreements.

               131.    The second level meetings were attended by high level sales managers and

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were known as "management" meetings. These meetings occurred more frequently, typically

monthly, and handled implementation of the agreements made at top meetings.

                132.   Finally, the third level meetings were known as "working level" meetings

and were attended by lower level sales and marketing employees. These meetings generally

occurred on a weekly or monthly basis and were mostly limited to the exchange of information

and discussing pricing since the lower level employees did not have the authority to enter into

agreements. These lower level employees would then transmit the competitive information up the

corporate reporting chain to those individuals with pricing authority. The working level meetings

also tended to be more regional and often took place near the conspirators' factories. In other

words, the Taiwanese manufacturers' employees met in Taiwan, the Korean manufacturers'

employees met in Korea, the Chinese in China, and so on.

                133.   The Chinese glass meetings began in 1998 and generally occurred on a

monthly basis following a top or management level meeting. The China meetings had the

principal purpose of reporting what had been decided at the most recent glass meetings to the

Chinese manufacturers. Participants at the Chinese meetings included the manufacturers located

in China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,

including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,

and Chunghwa.

               134.    Glass meetings also occurred occasionally in various European countries.

Attendees at these meetings included those conspirators which had subsidiaries and/or

manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,

Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo) and

IRICO. Chunghwa also attended these meetings.

               135.    Representatives of the conspirators also attended what were known

amongst members of the conspiracy as "green meetings." These were meetings held on golf

courses. The green meetings were generally attended by top and management level employees of

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     the conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,

     Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia, and the United States.

                     136.   Participants would often exchange competitively sensitive information

     prior to a glass meeting. This included information on inventories, production, sales and exports.

     For some such meetings, where information could not be gathered in advance of the meeting, it

     was brought to the meeting and shared.

                     137.   The glass meetings at all levels followed a fairly typical agenda. First, the

     participants exchanged competitive information such as proposed future CRT pricing, sales

     volume, inventory levels, production capacity, exports, customer orders, price trends and

     forecasts of sales volumes for coming months. The participants also updated the information they

     had provided in the previous meeting. Each meeting had a rotating, designated "Chairman" who

     would write the information on a white board. The meeting participants then used this

     information to discuss and agree upon what price each would charge for CRTs to be sold in the

     following month or quarter. They discussed and agreed upon target prices, price increases, so-

     called "bottom" prices and price ranges for CRTs. They also discussed and agreed upon prices of

     CRTs that were sold to specific customers, and agreed upon target prices to be used in

     negotiations with large customers. Having analyzed the supply and demand, the participants

     would also discuss and agree upon production cutbacks.

                    138.    During periods of oversupply, the focus of the meeting participants turned

     to making controlled and coordinated price reductions. This was referred to as setting a "bottom

     price."

                    139.    The conspiracy included agreements on the prices at which certain

     conspirators would sell CRTs to their own corporate subsidiaries and affiliates that manufactured

     end products, such as televisions and computer monitors. The conspirators realized the

     importance of keeping the internal pricing to their affiliated OEMs at a high enough level to
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     support the CRT pricing in the market to other OEMs. In this way, Defendants and their co-
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